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                                                                     United States District Court
                                                                       Southern District of Texas

                                                                           ENTERED
                    IN THE UNITED STATES DISTRICT COURT               December 18, 2018
                     FOR THE SOUTHERN DISTRICT OF TEXAS                David J. Bradley, Clerk
                              HOUSTON DIVISION


CASANDRA SALCIDO, AS NEXT               §
FRIEND OF MINOR CHILDREN K.L.           §
AND C.L., DENISE COLLINS,               §
KENNETH LUCAS, AMBER LUCAS,             §
INDIVIDUALLY AND AS                     §
REPRESENTATIVE OF THE ESTATE            §
OF KENNETH CHRISTOPHER LUCAS,           §
DECEASED, AND DEIDRE MCCARTY,           §
AS NEXT FRIEND OF MINOR                 §
CHILDREN K.J.L. AND T.J.L.,             §
                                        §
                    Plaintiffs,         §
                                        §
v.                                      §      CIVIL ACTION NO. H-15-2155
                                        §
HARRIS COUNTY, TEXAS, DEPUTY            §
DAVID GORDON, DEPUTY XAVIER             §
LEVINGSTON, DETENTION OFFICER           §
BRODERICK GREEN, DETENTION              §
OFFICER ALICIA SCOTT,                   §
DETENTION OFFICER JESSE BELL,           §
DETENTION OFFICER MORRIS                §
THOMAS, AND DETENTION OFFICER           §
ADAM KNEITZ,                            §
                                        §
                    Defendants.         §



                       MEMORANDUM OPINION AND ORDER


       Plaintiffs    brought   this   action   against    defendants,       Harris

County,   Texas,    and nine Harris County Sheriff's Office               ( "HCSO")

employees    in    their   individual   capacities:      Deputy   David     Gordon

("Gordon"), Deputy Xavier Leveston ("Leveston"), Detention Officer

Broderick Green ("Green"), Detention Officer Alicia (a/k/a Riley)

Scott ("Scott"), Detention Officer Jesse Bell ("Bell"), Detention

Officer Morris Thomas        ("Thomas"),    Detention Officer Adam Kneitz
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("Kneitz"), Laxman Sunder, M.D.                ("Sunder"), and Carrie O'Pry, LVN

("O'Pry"),       under 42 U.S.C.          § 1983 for violation of civil rights

guaranteed       by     the     Fourteenth    Amendment       to     the     United       States

Constitution, and for violation of the Americans With Disabilities

Act ("ADA"), 42 U.S.C. § 12131, and§ 504 of the Rehabilitation Act

("RA"), 22 U.S.C. § 794.             On September 28, 2018, the court issued

a Memorandum Opinion and Order granting the motions for summary

judgment filed by Dr. Sunder and Nurse O'Pry, and granting in part

and denying in part the motions for summary judgment filed by the

remaining       seven    individual        defendants       and     by    Harris       County.

Pending        before     the     court     are     Harris        County's         Motion    for

Reconsideration          (Docket Entry No.          210),    Harris County's Amended

Motion    for    Reconsideration          (Docket    Entry No.           211) ,    Defendants'

Motion for Stay (Docket Entry No. 220), and Plaintiffs' Response in

Opposition to Defendants' Motion to Stay Litigation and Plaintiffs'

Motion to Certify Defendants'                 Appeal as      Frivolous            ("Plaintiffs'

Response and Motion to Certify Appeal as Frivolous")                              (Docket Entry

No.    226).      Also pending are           Plaintiffs'          Response        to   Defendant

Harris County's Motion for Reconsideration ("Plaintiffs' Response")

(Docket Entry No. 221), and Harris County's Reply in Support of Its

Motion for Reconsideration ("Harris County's Reply")                              (Docket Entry

No. 227), and Officer Defendants' Reply to Plaintiffs' Response to

Defendants' Motion to Stay Litigation and Response to Plaintiffs'

Motion     to    Certify        Defendants'       Appeal     as     Frivolous          ("Officer

Defendants' Reply")           (Docket Entry No. 230).

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        Because       the    filing   of    Harris    County's      amended motion         for

reconsideration             (Docket   Entry    No.    211),   moots    Harris       County's

motion for reconsideration                 (Docket Entry No.        210),    Docket Entry

No. 210 will be declared moot.                For the reasons stated below Harris

County's        Amended      Motion    for     Reconsideration        will    be       denied,

Defendants' Motion for Stay will be denied, and Plaintiff's Motion

to Certify Defendants' Appeal as Frivolous will be granted.



                                      I. Background

        This action arises out of a use of force at the Harris County

Jail during which inmate Kenneth Christopher Lucas ("Lucas") died.

The factual background is set forth at length in the September 28,

2018,       Memorandum Opinion and Order              (Docket Entry No.           207) .    In

short, plaintiffs allege that Lucas, a pre-trial detainee in the

Harris County Jail, died due to an excessive use of force exerted

against him during a cell extraction and subsequent transfer to the

jail clinic, when the officer defendants placed him face down on a

gurney,        held   his     shackled     limbs     behind   his    back    in    a    hogtie

position while an officer sat on top of him, and ignored his pleas

for help and complaints that he could not breathe.                                Plaintiffs

allege that the manner in which the defendants restrained Lucas and

ignored his pleas for help was "by the book" for the Harris County

Jail. 1


        1
            Plaintiffs' Response,          Docket Entry No. 221, p. 4.   See also
                                                                   (continued ... )

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        On July 28, 2015, Lucas's survivors filed this action (Docket

Entry No.        1).   On October        5,    2016,    plaintiffs       filed    the      live

complaint,        Plaintiffs'     Fourth       Amended       Complaint    (Docket       Entry

No. 77), asserting claims for violation of the ADA and the RA, and

rights guaranteed by the Fourteenth Amendment to the United States

Constitution made actionable by 42 U.S.C. § 1983.

        In February of 2018 all of the defendants moved for summary

judgment on all of plaintiffs'                claims     (Docket Entry Nos. 145-47,

150-52).        On September 28, 2018, the court granted Harris County's

motion for        summary judgment on plaintiffs' ADA and RA claims, but

denied Harris County's motion for summary judgment on plaintiffs'

§   1983 claims. 2     The court granted Dr. Sunder's and Nurse O'Pry's

motion for summary judgment on all of the claims asserted against
        3
them,        and granted the motions for summary judgment filed by the

individual        detention     officer       and   deputy     defendants        as   to    the

plaintiff's ADA and RA claims, but with one exception denied their

motions on the plaintiffs'           §    1983 claims. 4        The exception was for



        1
      ( • • • continued)
Plaintiffs' Fourth Amended Complaint, Docket Entry No. 77, pp. 4-
26, ~~ 21-74.       All page numbers for docket entries in the record
refer to the pagination inserted at the top of the page by the
court's electronic filing system, CM/ECF.
        2
      See Memorandum Opinion               and      Order,    Docket     Entry    No.      207,
pp. 114-42 and 150.
        3
            Id. at 103-114 and 150.
        4
            Id. at 69-103 and 150.

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defendant Kneitz for whom the court granted summary judgment on
                                                                   5
plaintiffs' § 1983 claims for use of excessive force.

      On October 12, 2018, and October 15, 2018, Harris County filed

its original and amended motions for reconsideration, respectively.

On October 26, 2018, the individual officer defendants filed their

notice of appeal       (Docket Entry No. 217), and on November 1, 2018,

defendants filed their motion to stay, asserting: "The appeal will

be focused on showing why the disputed issues of fact found by the

Court are not material." 6

      On November 20, 2018, the plaintiffs filed their response in

opposition      to   defendants'   motion    to   stay,   and   their motion   to

certify defendants' appeal as frivolous             (Docket Entry No. 226).

      On December 10, 2018, the officer defendants file their reply

to plaintiffs' response to their motion to stay, and a response to

plaintiffs'     motion to certify their appeal as frivolous              (Docket

Entry No. 230).       Defendants argue that the court should not certify

their the appeal as frivolous because it will address at least one

question of law:        "whether the    [ c] ourt erred in considering the

defendants'     conduct as a group or a unit for qualified immunity

purposes. " 7




      5
          Id. at 88-90.
      6
          Defendants' Motion for Stay, Docket Entry No. 220, pp. 2-3.
      7
          0fficer Defendants' Reply, Docket Entry No. 230, p. 3 ~ 6.

                                       -5-
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               II. Harris County's Motion for Reconsideration

     Harris County's amended motion for reconsideration asks the

court "to reconsider its Memorandum Opinion and Order and to grant

summary        judgment   to   Defendants     on   all   Plaintiffs'     claims    and

theories       of   liability. " 8   Harris    County    argues   that    the    court

"either missed or conflated" the following "uncontested facts" that

"should sway the Court's ultimate opinion:" 9

    First, the uncontested cause of death was sudden cardiac
    arrest, not positional asphyxia.    Yet, the analysis of
    the Court's Opinion assumes otherwise- as evidenced by
    the heavy reliance upon the "position" of Lucas and the
    2 uttered instances of "I can't breathe." Second, even
    if the analysis was based on asphyxia, it is undisputed
    Lucas was not hogtied.      The "basic hogtie position"
    adopted by the Plaintiffs and this Court is not a hogtie
    - but rather is a label that has been given to describe
    a position that significantly differs from a hogtie.
    This difference has important legal significance. Absent
    from the 2009 DOJ Letter is any reference to a "basic
    hogtie position." And, contrary to the Opinion, Sheriff
    Garcia did not testify that he had knowledge that putting
    someone in a "basic hogtie position" was dangerous and
    he did not testify that officers were trained to ignore
    cries   for   help  until  the   inmate  is   "completely
    incapacitated" while in this position.     [Cf. Doc. 207,
    p. 121, 125].      The Court's reliance on Plaintiffs'
    argument rather than the evidence sidesteps this critical
    point       the policy or custom must be "adopted or
    maintained with objective deliberate indifference."
    There is simply no evidence to support deliberate
    indifference. Third, there is no discussion, no analysis
    and no conclusion that Harris County's policymaker was
    deliberately indifferent with regard to Plaintiffs' claim
    of denial of medical care - because there is no evidence
    to support such a liability finding.      Finally, it is


     8
      Harris County's Amended Motion for Reconsideration,                       Docket
Entry No. 211, p. 9.
     9
         Id.   at 1.

                                        -6-
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       axiomatic that it takes breath to talk.          The two
       instances in which Lucas said he couldn't breath occurred
       during transport to the medical clinic and following his
       cussing at Dr. Sunders in the clinic. 10



A.     Standard of Review

       "[T]he Federal Rules of Civil Procedure do not recognize a

general motion for reconsideration."               St.   Paul Mercury Insurance

Company v.       Fair Grounds Corporation, 123 F.3d 336, 339          (5th Cir.

1997).        The court's September 28,       2018,      Memorandum Opinion and

Order was interlocutory, not final.               See Moody v. Seaside Lanes,

825 F.2d 81,       85 & n.3    (5th Cir.   1987)    (explaining that only the

resolution of an entire adversary proceeding is "final") .                  Courts

reconsider interlocutory orders under Rule 54(b), which provides

that     "any    order   or   other   decision,     however   designated,     that

adjudicates fewer than all the claims or the rights and liabilities

of fewer than all the parties .               . may be revised at any time

before the entry of [a final judgment]."

       The standard of review for interlocutory decisions
       differs from the standards applied to final judgments
       under Federal Rules of Civil Procedure 59(e) and 60(b).
              [R]econsideration of an interlocutory decision is
       available under the standard "as justice requires."

       "As justice requires" indicates concrete considerations
       of whether the court "has patently misunderstood a party,
       has made a decision outside the adversarial issues
       presented to the [c]ourt by the parties, has made an
       error not of reasoning, but of apprehension, or where a
       controlling or significant change in the law or facts


       10
            Id. at 2.

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        [has occurred] since the submission of the issue to the
        court . . . . [T]he "as justice requires" standard amounts
        to determining "whether reconsideration is necessary
        under the relevant circumstances." Nonetheless, the
        court's discretion under 54(b) is limited by the law of
        the case doctrine and "subject to the caveat that, where
        litigants have once battled for the court's decision,
        they should neither be required, nor without good reason,
        permitted, to battle for it again.

Judicial Watch v. Department of the Army, 466 F. Supp.2d 112, 123

(D.D.C.        2006)     (citations omitted).        See also Dos Santos v.          Bell

Helicopter Textron,           Inc. District,       651 F. Supp.2d 550,       553     (N.D.

Tex.     2009)     ("whether    to   grant    such   a   motion    rests    within    the

discretion of the court").



B.     Analysis

        Harris County seeks reconsideration of the court's denial of

its motion for summary judgment on the claims that plaintiffs have

asserted under 42 U.S.C. § 1983 for violation of rights guaranteed

by     the     Fourteenth     Amendment      by    pointing   to    three    allegedly

"uncontested facts that were either missed or conflated and that

should sway the Court's ultimate opinion." 11                 For the reasons set

forth below the court concludes that the facts to which plaintiffs

point are either contested or not dispositive.




        11
             Id. at 1.

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       1.         The Cause of Lucas' Death is a Genuine Issue of Material
                  Fact for Trial

       Harris County argues that "the uncontested cause of death was

sudden cardiac arrest, not positional asphyxia.                      Yet, the analysis

of the Court's Opinion assumes otherwise -                     as evidenced by the

heavy reliance              upon   the   'position'    of Lucas     and    the   2    uttered

instances         of   'I    can't breath.' " 12      Asserting     that    "the      autopsy

report       conclusively established Lucas              died of a        sudden cardiac

event, not of positional asphyxia," 13 Harris County argues that

       [t] here is no testimony or evidence that policymaker
       Sheriff Garcia had knowledge that transporting Lucas to
       the medical clinic in a prone position - hogtie or
       otherwise -placed him at risk for a sudden heart attack .
            . Causation claims that link Lucas's sudden cardiac
       death to any alleged, disputed constitutional violation
       are wholly lacking.      And there is no evidence to
       substantiate the claim that any policy or custom adopted
       or maintained with objective deliberate indifference
       caused sudden cardiac arrest. 14

       Plaintiffs respond that "expert testimony raises an issue of

material          fact:     did    Lucas's   heart     stop   due    to    the       physical

restraint, or only other causes?                    Medical cause of death found in

the autopsy does not resolve this question. " 15                      Plaintiffs argue

that   competent evidence shows               that Lucas died from           foreseeable

dangerous physical restraint. 16



       12
            Id. at 2.
       13
            Id.
       14
            Id. at 2-3.
       15
            Plaintiffs' Response, Docket Entry No. 221, p. 1.
       16
            Id. at 6-9.

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        According to the autopsy report, Lucas died of "sudden cardiac

death        due     to       hypertensive     and   atherosclerotic           cardiovascular

disease during physical restraint. " 17 Harris County's argument that

Lucas's injury and death did not result from the use of force is

based on Lucas' preexisting medical conditions.                            Harris County's

argument           fails      to   recognize      that   the    eggshell      skull    rule    is

applicable in             §   1983 excessive force cases.          See Darden v. City of

Fort Worth, Texas, 880 F.3d 722, 728 (5th Cir.), cert. denied, 139

S. Ct. 69 (2018)               (citing Dunn v. Denk, 54 F.3d 248, 251 (5th Cir.

1995),       rev'd on other grounds 79 F.3d 401                        (5th Cir.      1996)   (en

bane)).        In Darden the estate of a suspect who suffered a heart

attack during his arrest in May of 2013 filed a §                                   1983 action

against       the     two       arresting    officers,     alleging      use    of    excessive

force.         The district          court granted the           defendants'         motion   for

summary judgment holding that the "plaintiff could not establish an

excessive force claim because he cannot show that Darden's death

'resulted directly and only from the use of force that was clearly

excessive to the need.'"                     Darden v.    City of Fort Worth,            Texas,

No. 4:15-CV-221-A, 2016 WL 4257469, *6 (N.D. Tex. August 10, 2016).

Recognizing that "[t]he district court's conclusion that the injury

did     not    result          directly     and   only   from    the    use    of    force    was

essentially based on the fact that Darden had preexisting medical



        17
      Autopsy Report, Exhibit 24 to Harris County's Amended Motion
for Summary Judgment, Docket Entry No. 157-3, p. 2.

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conditions that increased his risk of death during the incident,"

Darden, 880 F.3d at 728, the Fifth Circuit reversed, holding that

genuine     issues   of    material   fact      precluded   granting   summary

judgment.      Darden,    880 F. 3d at 725 and 734.         The Fifth Circuit

explained that

     [a] ccording to the eggshell skull rule, "a tortfeasor
     takes his victim as he finds him." .       . The eggshell
     skull rule is applicable in§ 1983 excessive force cases.
            Darden's preexisting medical conditions increased
     his risk of death during a struggle, and in that way,
     they contributed to his death.     However, the evidence
     suggests that Darden would not have suffered a heart
     attack and died if the officers had not tased him, forced
     him onto his stomach, and applied pressure to his back.
     Indeed, the medical expert ultimately concluded that
     "Darden's manner of death should not have been ruled as
     Natural." Accordingly, the plaintiff can show that the
     use of force was the direct and only cause of Darden's
     death.

Id. at 728 (citations omitted) .

     Harris County argues that Darden is distinguishable because

unlike Lucas, the decedent in Darden "had done nothing to indicate

violence, and there was no suggestion of a threat." 18              But those

distinctions     relate    to   whether   the   force   used was   objectively

reasonable, not to whether it caused the decedent's death.                Like

the defendants in Darden,         Harris County asserts that Lucas died

from cardiac arrest and therefore argues that plaintiffs cannot

show that his death resulted from the officer defendants' use of

force.     Although Lucas'      preexisting medical conditions may have



     18
          Harris County's Reply, Docket Entry No. 227, p. 4 n.7.

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increased his risk of death from cardiac arrest during restraint,

and in that way, contributed to his death, as in Darden, there is

evidence from plaintiffs' medical experts, Dr. Cohen and Dr. Hall,

that Lucas would not have suffered a heart attack and died had the

officer defendants not forced him onto his           stomach and applied

pressure to his limbs, chest, and back that impaired his ability to

breathe.   Dr. Cohen stated in his report that

     [c]orrectional uniformed and supervisory staff, during
     the cell extraction, transportation to the clinic and
     while in the clinic, restrained Kenneth Lucas in a manner
     which proximately caused his death . . . . The use of the
     hog-tie position on Mr. Lucas, an extremely agitated
     individual for an extended period of time, and their
     constant compression of his chest, continued after his
     last complaint of inability to breathe, contributed
     significantly to his death. 19

Dr. Hall stated in her report that

     [i]n the cell extraction, Mr. Lucas was placed in what
     one officer described as a "hog tied position."      This
     position meant that Mr. Lucas was handcuffed behind his
     back and was ankle shackled such that his ankles were
     also folded up behind him.     Although there was not a
     metallic device connecting the ankles and wrists, the
     holding of the arms and legs in position effectively
     achieved the same thing as a hog tie with a metallic
     device. In addition to Mr. Lucas being in this position,
     he was placed face down on a gurney. For someone obese,
     this makes breathing more difficult. In [the] video, you
     can see the gut of Mr. Lucas bulging from the sides.
     This indicates that his gut was being pressed up into his
     diaphragm to the maximum extent and could go no further
     without rupturing internal organs. Such pressure on the
     diaphragm greatly constricts breathing.    In addition to
     this, a guard was straddling his folded legs and that
     same guard was alternately putting his hands on


     19
      Affidavi t of Robert L. Cohen, M.D., CJ[5, Exhibit 16 to
Plaintiffs' Consolidated Response to Defendants' Motions for
Summary Judgment, Docket Entry No. 175-19, pp. 17-18.

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     Mr. Lucas' feet or what appears to be Mr. Lucas['] back.
     Between the officer straddling the legs and putting
     pressure on feet and potentially back, breathing would
     have been further compromised. Finally, the video shows
     that for some inexplicable reason, the head of the gurney
     was til ted so that it angled upward into the face of
     Mr. Lucas.   This would have made it more difficult for
     Mr. Lucas to turn his head from side to side and likely
     had the effect of somewhat constricting his air flow
     given that two of the officers maintaining pressure at
     his back as his hands were being restrained.         That
     Mr. Lucas' breathing was compromised is confirmed by at
     least two statements of Mr. Lucas.      One statement is
     clearly audible on the extraction video at approximately
     the 16:56 minute mark. At that point, Mr. Lucas says "I
     cannot breathe." A second statement is attested by Lt.
     Anderson in her deposition. She indicates that while she
     did not hear the statement by Mr. Lucas at the 16:56
     minute mark of the video, she did hear him say he could
     not breathe prior to that point while they were in the
     elevator lobby.     These two statements confirm that
     Mr. Lucas was not able to get adequate breaths. 20

Moreover, the autopsy report characterized the manner of death as

"[h]omicide." 21   Harris County acknowledges that "homicide" means

"death at the hands of another. " 22   The evidence cited by plaintiffs

is sufficient to raise an issue of material fact for trial as to

whether Lucas's sudden cardiac death was caused by his preexisting

conditions or by the defendant officers' use of force.




     20
      Report of Dr. Kris Hall ("Hall Report"), pp. 2-3, Exhibit 13
to Plaintiffs' Consolidated Response to Defendants' Motions for
Summary Judgment, Docket Entry No. 175-16, pp. 3-4.
     21
      Autopsy Report, Exhibit 24 to Harris County's Amended Motion
for Summary Judgment, Docket Entry No. 157-3, p. 2.
     22
      Harris County's Reply, Docket Entry No. 227, p. 4. See also
Black's Law Dictionary, Ninth Edition, p. 802 (defining "homicide"
as "killing of one person by another") .

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        2.         Whether Lucas was Hogtied is Not Dispositive

        Asserting           that     "[t]here     is   legal   significance     to   the

difference between a hogtie and a 'basic hogtie' position, " 23 Harris

County argues that

        even if the analysis was based on asphyxia, it is
        undisputed Lucas was not hogtied.      The "basic hogtie
        position" adopted by the Plaintiffs and this Court is not
        a hogtie   but rather is a label that has been given to
        describe a position that significantly differs from a
        hogtie.       This  difference    has   important   legal
        significance.             And, contrary to the Opinion,
        Sheriff Garcia did not testify that he had knowledge that
        putting someone in a "basic hogtie position" was
        dangerous and he did not testify that officers were
        trained to ignore cries for help until the inmate is
        "completely incapacitated" while in this position.    [ Cf.
        Doc. 207, p. 121, 125] . 24

Plaintiffs respond that "whatever method of force the County used

and     endorsed       to     kill    Lucas,    evidence   shows    it   was   obviously

excessively dangerous, and well- known to County policymakers. " 25

        Harris County argues that Lucas was not hogtied, and therefore

that Lucas was not subjected to excessive force, and that Lucas's

death was not reasonably foreseeable from the force used against

him.         But whether or not Lucas was hogtied is not dispositive of

any of the claims asserted in this action.                         Virtually the same



        23
      Harris County's Amended Motion for Reconsideration,                         Docket
Entry No. 211, p. 3.
        24
             Id.   at 2.
        25
      Plaintiffs' Response, Docket Entry No. 221, p. 1. See also
id. at 9 (arguing that "hogtie or not, the physical restraint that
Harris County used to kill Lucas was excessive, deadly force").

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argument was raised by the individual officer defendants in their

motions for summary judgment,         and the court addressed it in the

September 28, 2018, Memorandum Opinion and Order, as follows:

         [A] sserting that the pleadings specifically refer to
        placing Lucas in a "hogtie" and "hogtie position" as a
        use of excessive force and violation of his rights, the
        [officer] defendants all cite evidence showing that Lucas
        was not "hogtied," and argue that even if Lucas was
        "hogtied," his constitutionally protected rights were not
        violated because the Fifth Circuit has repeatedly held
        that a "hogtie" or four-point restraint does not
        constitute excessive force oer se.        See Deputy and
        Detention Officers' MSJ, Docket Entry No. 145, pp. 36-38
        . . . ; and Deputies' MSJ, Docket Entry No. 150, pp. 23-28
        ~~ 26-36.    The [officer] defendants' arguments based on
        the weakness of plaintiffs' evidence that Lucas was
        hogtied and the Fifth Circuit's failure to have held that
        use of such restraint represents a constitutional
        violation per se disregard plaintiffs' allegations and
        evidence that the [officer] defendants either subjected
        Lucas to the use of excessive force by exerting pressure
        on Lucas's limbs, back, and chest in a manner that
        impaired his ability to breathe, or observed but failed
        to prevent the use of such force against Lucas. 26

        The dispositive issues on the plaintiffs'              excessive use of

force claims are not whether Lucas was hogtied,                 but whether the

force        that the defendant officers purposely and knowingly used

against Lucas caused "(1) injury,            (2) which resulted directly and

only from a use of force that was clearly excessive, and (3)                      the

excessiveness of which was clearly unreasonable."              Darden, 880 F.3d

at 727 (citing Cooper v. Brown, 844 F.3d 517, 522 (5th Cir. 2016),

and Elizondo v.       Green,   671 F. 3d 506,    510   (5th Cir.   2012)).        See

also Kingsley v.       Hendrickson,    135 S.    Ct.   2466,   2473   (2015)      ("a


        26
      Memorandum Opinion and Order,             Docket Entry No.      207,   p.    73
n. 144 (citations omitted).

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pretrial        detainee     must    show   only   that   the    force   purposely      or

knowingly used against him was objectively unreasonable").                         Harris

County's contention that death was not reasonably foreseeable from

restraint that impaired Lucas' ability to breathe strains credulity

and is foreclosed by Fifth Circuit precedent.                    See Darden, 880 F.3d

at 728-33.        See also Simpson v. Hines, 903 F.2d 400, 403 (5th Cir.

1990)         (jail   officers      subduing      pretrial    detainee      by     sitting

"astraddle him" and applying pressure to his chest, while detainee

"screams and          [made]   repeated cries        for mercy" denied qualified

immunity when detainee asphyxiated).

        For     the   reasons       set   forth    in   the     September    28,     2018,

Memorandum Opinion and Order, 27 the court concluded that

        [d] isputes    of   material   fact  as   to   whether  the
        individually named [officer] defendants used force that
        was unreasonable under the circumstances include whether
        Lucas continued to resist once he was handcuffed,
        shackled, and placed face down on the gurney for
        transport to the jail clinic, and whether and to what
        extent each of the [officer] defendants applied pressure
        to Lucas's chest during the transport to the clinic. The
        court concludes that plaintiffs have cited summary
        judgment evidence capable of establishing that the
        [officer] defendants took the alleged actions against
        Lucas,    that    those   actions   were  not   objectively
        reasonable, and that the [officer] defendants had fair
        warning that the conduct at issue was constitutionally
        impermissible.      The court therefore concludes that the
        plaintiffs have cited evidence capable of establishing
        that    the    [officer]    defendants   violated   clearly
        established law of which all reasonable officers would
        have known. 28



        27
             Id. at 70-87.
        28
             Id. at 87-88.

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Harris County's amended motion for reconsideration fails either to

address or to challenge the court's conclusions as to these genuine

issues of material fact.       Accordingly,    the court concludes that

whether Lucas was hogtied is not dispositive and does not warrant

granting Harris County's motion for summary judgment.



     3.      Plaintiffs Presented Evidence Capable of Establishing
             Deliberate Indifference of Harris County's Policymaker

     Asserting that "there is no discussion,            no analysis and no

conclusion    that   Harris   County's    policymaker    was   deliberately

indifferent with regard to Plaintiffs' claim of denial of medical

care -    because there is no evidence to support such a liability

finding, " 29 Harris County argues that "[t] he Opinion incorrectly

relies    upon misstated evidence     by the    Plaintiffs     that   Sheriff

Garcia's testimony included 'ignoring Lucas's pleas for help until

he was "entirely incapacitated."'" 30      Harris County argues

     [t]his was not his testimony- as shown in the very next
     line of Sheriff Garcia's deposition, he explained that
     what he meant was "there was no correlation of distress
     with what [Lucas] was saying to what [Lucas] was doing .
     . . [Lucas] is still being combative. [The officers] are
     still maintaining their training,       they are   still
     maintaining the control.   They are still trying to keep




     29
      Harris County's Amended Motion for Reconsideration,              Docket
Entry No. 211, p. 2.
     30
      Id. at 7 (quoting Memorandum Opinion and Order, Docket Entry
No. 207, pp. 121, 122).

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     [Lucas] safe as well as themselves. " 31   Sheriff Garcia
     further testified that it would violate policy if
     officers ignored or were indifferent to a serious medical
     need. 32

Asserting that the court wrongly "determined the 'evidence cited by

Plaintiffs is sufficient to raise genuine issues of material fact'

as to the County's alleged failure to train, " 33 Harris County argues

     it is incorrect to say Sheriff Garcia testified that he
     "trained [the officer defendants] to ignore calls for
     help and expressions of inability to breathe" or that he
     failed to train them "about what to do should an inmate
     have difficulty breathing."      To the contrary, his
     testimony is that they should notify medical personnel. 34

     Plaintiffs respond that

     the Sheriff plainly endorsed the misconduct captured on
     video and described the very same reasoning that allowed
     it to happen as Harris County policy. Even if the Court
     believes the Sheriff that he incredibly believes a man
     gasping "I can't breathe" is not a medical emergency and
     that Lucas was being combative even as his eyes rolled
     back in his head while he foamed at the mouth, a
     policymaker' s self-serving protests contrary to competent
     evidence - such as the video - do not eliminate a fact




     31
      Id. & n. 14 (citing Oral and Videotaped Deposition of Sheriff
Adrian Garcia ("Garcia Deposition"), 181:9-182:7, Exhibit 4 to
Plaintiffs' Consolidated Response, Docket Entry No. 175-7, pp. 95-
96).
     32
      Id. & n. 15 (citing Garcia Deposition, 69:24-70:7, Exhibit
4 to Plaintiffs' Consolidated Response, Docket Entry No. 175-7, but
these pages of the Garcia Deposition are not included in the
exhibit cited) .
     33
          Id. at 8.
     34
       Id. & n. 19 (quoting Garcia Deposition, p. 93:14-23, Exhibit
4 to Plaintiffs' Consolidated Response, Docket Entry No. 175-7,
p. 39) .

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        issue, especially not when the             standard is    objective
        deliberate indifference. 35

        After watching the video of Lucas's cell extraction, transport

to   the      clinic,     and   death,   Sheriff   Garcia   testified   that   the

defendant officers followed Harris County training and policies

throughout the incident:

        Q.             [F]rom your perspective, even hearing what
                you have heard throughout this deposition about
                people not doing things when people say they can't
                breathe, you would still say, "look members of the
                jury, in my opinion, these officers were following
                the training and policies in place at"         "at
                Harris County," fair?

        A.      Yes. 36

Even if Sheriff Garcia has testified as Harris County contends,

i.e.,        that officers would violate Harris County policy if they

ignored or were indifferent to a serious medical need,                  and that

county officers are trained to notify medical personnel during a

medical        emergency,       such   testimony   would    neither   negate   nor

contradict evidence that Harris County trained its officers to

ignore calls for help and expressions of inability to breathe made

by restrained detainees who were not "entirely incapacitated."


        35
      Plaintiffs' Response, Docket Entry No. 221, pp. 1-2.   See
also id. at 11-12 (arguing that "the county's endorsement of its
employees' mistreatment of Lucas is clear, showing the county
denied medical care and failed to train").
        36
      Garcia Deposition, pp. 211:22-212:4, Exhibit 4 to Plaintiffs'
Consolidated Response, Docket Entry No. 175-7, Ex. 4, pp. 107-08.
See also id. at 62:16-63:6, 66:2-67:19, 79:10-14, 180:11-182:7,
Exhibit 4 to Plaintiffs' Consolidated Response, Docket Entry
No. 175-7, pp. 32-33, 36-37, 42, 94-96.

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Evidence        to    this    effect     is   found    not   only     in    the   deposition

testimony of Sheriff Garcia, but also in the deposition testimony

of officer defendants Leveston and Bell.

        In pertinent Sheriff Garcia testified:

        Q.       When you looked at the video and you saw that he
                 said "I cannot breathe" and then you saw that they
                 did absolutely nothing to address that, did you
                 then go to them and say "folks, was there some
                 reason you didn't do anything when he said 'I
                 cannot breathe'"?

                 Ms. Hedge: Objection, mischaracterizes the evidence.

        A.      Around the same       the same time period that
                Mr. Lucas says "I cannot breathe," I also saw him
                still trying to kick out with his legs, so to me he
                -- what he said is important, but what he was doing
                was just as significant because it demonstrates
                that he was not entirely incapacitated.

        Q.         . . And so -- so you needed him to be completely
                 incapacitated before you would have been critical
                 of them for not doing anything when he said "I
                 cannot breathe"?

                 MS. HEDGE: Objection, argumentative.

        A.       The point being is that there was no correlation of
                 distress with what he was saying to what he was
                 doing. 37

        Defendant Leveston testified that after hearing Lucas say, "I

can't        breathe,"       he    did   nothing      because   in    his     opinion,   and

consistent           with    his    training,      "[i]f     you're        talking,   you're

breathing." 38         Leveston also testified that the defendant officers


        37
      Id. at 181:2-21, Exhibit 4 to Plaintiffs'                                Consolidated
Response, Docket Entry No. 175-7, Ex. 4, p. 95.
        38
             0ral and Videotaped Deposition of Xavier Leveston ("Leveston
                                                           (continued ... )

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"did everything based on our training, " 39 and that when they arrived

in the clinic with Lucas,         Leveston did not tell the doctor that

Lucas had said that he could not breathe. 40

     Defendant    Bell   similarly     testified          that      he    followed     his

training   "one   hundred   percent, " 41    and       that   had    he    heard     Lucas

complain   that   he   couldn't    breathe,       he    would    not      have   reacted

because he had been trained not to react and to continue holding

Lucas's leg:

     Q.    Had you heard Mr. Lucas cry out --

     A.    Yes, sir.

     Q.        I  can't     breathe,        you    would      have        reacted,
           correct?


     A.    I was trained -- I'm trained -- if I heard it, I
           was trained that I could not, you know, react to it
           because I was still focused on taking away from my
           part of the leg because I have to still hold him in
           his position. 42



     38
       ( • • • continued)
Deposition") , p. 4 7: 2 4, Exhibit 8 to Plaintiffs' Consolidated
Response, Docket Entry No. 175-11, p. 37.   See also id. at 47:13-
48:18, Exhibit 8 to Plaintiffs' Consolidated Response, Docket Entry
No. 175-11, p. 37-38.
     39
      Id. at 62:12, Exhibit 8 to Plaintiffs' Consolidated Response,
Docket Entry No. 175-11, p. 46.
     40
      Id. at 95:16-19, Exhibit 8 to Plaintiffs'                           Consolidated
Response, Docket Entry No. 175-11, p. 66.
     41
      0ral and Videotaped Deposition of Jesse Bell         ("Bell
Deposition"), p. 17:10-12, Exhibit 14 to Plaintiff's Consolidated
Response, Docket Entry No. 175-17, p. 18.
     42
      Id. at 15:22-16:7, Exhibit 14 to Plaintiff's Consolidated
Response, Docket Entry No. 175-17, pp. 16-17.

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Bell also testified:

        Q.    Okay.   So do I understand you correctly that the
              training from Harris County is that even if you
              were to hear -- if, okay? --

        A.    Yes.

        Q.    -- if you were to hear someone cry out, I can't
              breathe or I need help, that the person who's
              handling the leg shouldn't do anything other than
              maintain control over the leg?

        A.    Well, that was then -- that was that training --
              the way we were trained then because you have five
              members.   That was then.   But under the new way
              we're being trained, we look for those signs. 43

        The video shows -     and defendants do not dispute -        that once

Lucas was extracted from his cell, his legs were crossed, shackled,

and folded at the knees, he was placed face down on the gurney, and

subjected to pressure exerted by five of the defendant officers.

Although Harris County argues that the defendants applied only the
                                                   44
amount of force needed to restrain Lucas,               the court concluded in

the     September    28,   2018,   Memorandum   Opinion    and   Order    that   a

reasonable jury could decide from viewing the video that Lucas had

stopped resisting by the first time he told officers,                    "I can't

breathe," and that each time Lucas moved,               he was attempting to

reposition his face from where the officers were pushing it into



        43
      Id. at 17:20-18:6, Exhibit 14 to Plaintiff's Consolidated
Response, Docket Entry No. 175-17, pp. 18-19.
        44
      See Harris County's Reply, Docket Entry No. 227, p. 2
("officer[s] only applied force to Lucas' back and leg in reaction
of Lucas' resistance - and then only as needed") .

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the gurney so that he could breathe. 45                     Noticeably missing from

evidence cited by Harris County is                      any testimony from Sheriff

Garcia that Harris County officers were not                          trained to       ignore

complaints of an inability to breathe during restraint.                              That an

inability        to    breathe      is   a   serious    medical     need      of   which    all

reasonable officers would be aware is not subject to debate.                                See

Simpson,        903    F. 2d   at   403.      The    testimony      of   Sheriff     Garcia,

Leveston, and Bell that the officer defendants were "maintaining

their        training"     throughout        the    incident,      including       when    they

ignored Lucas's complaints that he could not breathe, is evidence

from which a reasonable jury could conclude that Harris County

trained        its    officers      to   ignore     complaints     of    an   inability      to

breathe         during    restraint,         and     that   that     training       reflects

deliberate indifference to a serious medical need.



              III. Defendants' Motion to Stay and
  Plaintiffs' Motion to Certify Defendants' Appeal as Frivolous

        The officer defendants, Gordon, Leveston, Green, Scott, Bell,

Thomas, and Kneitz, move the court to stay all further proceedings

until the Fifth Circuit has resolved the appeal that they have

taken from the court's denial of their motion for summary judgment

based on the defense of qualified immunity. 46                           These defendants

argue that


        45
             Memorandum Opinion and Order, Docket Entry No. 207, p. 84.
        46
             Defendants' Motion to Stay, Docket Entry No. 220, pp. 1-2.

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     [t]his Court has been divested of jurisdiction because
     [their] qualified immunity defense is meritorious.    The
     appeal will be focused on showing why the disputed issues
     of fact found by the Court are not material. That is an
     issue of law.    See Manis v. Lawson, 585 F.3d 839, 842
     (5th Cir. 2009) . 47

They argue that the court should not proceed to trial until the

Fifth Circuit determines whether they are all entitled to qualified

immunity on the plaintiffs' claims for excessive use of force and

failure to intervene, and whether Officers Scott, Bell, and Green,

are entitled to qualified immunity on plaintiffs' claims for denial

of medical care. 48

     Plaintiffs          respond that           the     court    should deny defendants'

motion for stay.               Because the court denied the defendants' motions

for summary judgment based on qualified immunity due to disputed

issues of material fact, plaintiffs argue that interlocutory appeal

is improper, and the court should therefore certify the appeal to
                                                 49
the Fifth Circuit as frivolous.

     In     reply    the             officer   defendants       not    only   reassert   their

entitlement to qualified immunity on plaintiff's claims, but also

argue that their motion for stay should be granted because their

appeal will involve at least one question of law: Whether the court

erred by considering their conduct and entitlement to qualified


     47
          Id. at 2-3          <JI    3.
     48
          Id. at 3   <JI<JI         4-5.
     49
      Plaintiffs'  Response and Motion                            to    Certify   Appeal    as
Frivolous, Docket Entry No. 226, p. 1.

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immunity as a group instead of separately as to each defendant, at

least as to plaintiffs' claims for bystander liability and denial

of medical care, because those claims have a subjective component. 50

Defendants also argue that their appeal of the unreasonable force

and medical care claims is meritorious because the court erred by

holding that their alleged conduct violated constitutional rights
                                                                                         51
that were clearly established at the time of Lucas' death.



A.      Applicable Law and Standard of Review

        Because the officer defendants                   invoked qualified immunity,

plaintiffs had the burden to demonstrate "(1)                           that the official

violated a           statutory or constitutional               right,    and    (2)    that   the

right        was     'clearly established'          at   the    time    of    the     challenged

conduct."            Ashcroft v. al-Kidd, 131 S. Ct. 2074, 2080                     (2011).    "A

Government           official's    conduct      violates       clearly       established      law

when, at the time of the challenged conduct,                      '[t]he contours of [a]

right        [are]    sufficiently clear'           that every     'reasonable official

would have understood that what he is doing violates that right.'"

Id. at 2083           (quoting Anderson v. Creighton, 107 S. Ct. 3034, 3039

(1987)).           The Fifth Circuit has explained that clearly established

law is determined by "controlling authority - or a robust consensus



        50
        0fficer Defendants'                Reply,    Docket Entry No.          230,     pp.   3-5
cncn 6-9.
        51
             Id. at 5-15 c:!Ic:!I 10-30.

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of persuasive authority- that defines the contours of the right in

question with a high degree of particularity.n                       Morgan v. Swanson,

659 F.3d 359, 371-72 (5th Cir. 2011)                  (en bane)    (internal quotations

omitted) .     Courts do not require "a case directly on point,n but

"existing       precedent        must        have      placed      the        statutory     or

constitutional question beyond debate.n                        Id. at 372      (quoting al-

Kidd,    131 S.      Ct.   at 2083) .        The central concern is whether the

official      has      fair     warning        that      his      conduct       violates     a

constitutional right.           Id.        at 372-73 (citing Hope v. Pelzer, 122

S. Ct. 2508, 2516 (2002)).

        If the constitutional right was clearly established, the court

"must     decide     whether    the        defendant's     conduct       was    objectively

reasonable.n Gates v. Texas Department of Protective and Regulatory

Services,     537 F.3d 404,          419    (5th Cir.    2008).      The Fifth Circuit

considers      "an    official's       conduct      to   be    objectively       reasonable

unless all reasonable officials in the defendant's circumstances

would have then known that the conduct violated the Constitution.n

Id.     "Qualified immunity gives government officials breathing room

to    make    reasonable       but    mistaken        judgments      about      open     legal

questions.      When properly applied, it protects 'all but the plainly

incompetent or those who knowingly violate the law.'                      n    al-Kidd, 131

S. Ct. at 2085         (quoting Malley v. Briggs,               106 S. Ct.       1092,    1096

( 1986)) .




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        In   cases        where    the     defendants       have    not    acted       together,

"'qualified immunity claims should be addressed separately'                                    for

each individual defendant.'"                    Kitchen v. Dallas County, Texas, 759

F.3d 468, 480 (5th Cir. 2014)                   (quoting Atteberry v. Nocona General

Hospital,        430 F.3d 245,        253       (5th Cir.   2005),       abrogated on other

grounds by Kingsley,              135 S. Ct. at 24 7 5) .           In such cases courts

examine each officer's actions independently to determine whether

he or she is entitled to qualified immunity.                        Newman v. Guedry, 703

F.3d 757, 762 (5th Cir. 2012), cert. denied, 134 S. Ct. 162 (2013)

(citing Meadours v. Ermel, 483 F.3d 417, 421-22 (5th Cir. 2007)).

        Because "[i]mmunity .                   . is an entitlement to be free from

the    burdens       of    time-consuming pre-trial               matters    and the       trial

process itself," Williams v. Brooks,                       996 F.2d 728,      730 n. 2         (5th

Cir.     19 93) ,     "' [Immunity]        is    effectively       lost'     if    a    case    is

erroneously permitted to proceed at the district court level while

an interlocutory appeal of a denial of immunity is pending."                                   Id.

(quoting Mitchell v.               Forsyth,       105 S.    Ct.    2806,    2815       (1985)).

"[T] he traditional           rule that the             filing    of a    notice       of appeal

divests      a   district         court    of    jurisdiction                 applies       with

particular          force    in    the     immunity       context."                    (citation

omitted) .          Nevertheless,         "orders denying qualified immunity are

immediately appealable only if they are predicated on conclusions

of law,      and not        if a    genuine issue of material fact                     precludes

summary judgment on the question of qualified immunity."                               Naylor v.


                                                 -27-
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State of Louisiana Department of Corrections,                       123 F.3d 855,      857

(5th Cir. 1997)       (per curiam).          See also Melton v.            Phillips,   875

F.3d 256, 261 (5th Cir. 2017)               (en bane), cert. denied, 138 S. Ct.

1550 (2018)    ("The denial of a motion for summary judgment based on

qualified immunity is immediately appealable under the collateral

order doctrine to the extent that it turns on an issue of law.").

      Although      courts     are     as    a     general       matter,    divested    of

jurisdiction while an interlocutory appeal of immunity is pending,

such divestment is neither automatic nor absolute.                         See BancPass,

Inc. v. Highway Toll Administration, L.L.C., 863 F.3d 391 (5th Cir.

2017) .   In BancPass, the Fifth Circuit reaffirmed its holding in

United States v.       Dunbar,       611 F.2d 985,         987    (5th Cir.    1980)   (en

bane), that "a district court may certify to the court of appeals

that an interlocutory appeal of the denial of a                              . motion is

frivolous     and   then     proceed    with       trial     rather   than    relinquish

jurisdiction."       863 F.3d at 398.         Reasoning that "[t]he divestiture

of jurisdiction rule .               . would enable a criminal defendant to

unilaterally obtain a trial continuance at                        [a] ny time prior to

trial by merely filing a                         motion,     however frivolous,        and

appealing the trial court's denial thereof," id.,                           the Bancpass

court held that if an appeal is found to be frivolous, the filing

of a notice of appeal by the defendant does not automatically

divest the district court of jurisdiction over the case.                          Id. at

398-99    (quoting    Dunbar,    611        F.2d at    988).        The    Fifth Circuit


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specifically recognized that         "a district        court   is permitted to

maintain jurisdiction over an interlocutory appeal of an immunity

denial after certifying that the appeal is frivolous or dilatory."

Id. at 400.         The court cautioned,     however,    that "this rule is a

permissive one: the district court may keep jurisdiction, but is

not required to do so," id., and that "[s]uch a power must be used

with restraint."         Id.   ( citations omitted) .       In other words,       a

district     court must    provide   written    certification         and make   an

express finding of frivolousness in the immunity context in order

for a court to not be deprived of jurisdiction.                 Id.



B.     Application of the Law to the Facts

       1.     Defendants' Appeal from Denial of Qualified Immunity on
              Plaintiffs' Claims for Excessive Use of Force and
              Bystander Liability Are Frivolous

              (a)    Issues   of  Material   Fact  as  to    Whether   a
                     Constitutional Violation Occurred Precluded the
                     Court from Granting Defendants Qualified Immunity

       Asserting that they do not conceded that they "effectively

hogtied" Lucas, the officer defendants argue that even if they did,

it was      not   clearly established on February 17,            2014,   when the

incident at issue occurred, that the restraint used on Lucas was

unconstitutional.        Accordingly, the officer defendants argue that

they are entitled to qualified immunity on plaintiffs' claims for

use of excessive force and failure to intervene                 (i.e., bystander




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liability). 52         For the reasons stated in the September 28,                      2018,

Memorandum Opinion and Order (Docket Entry No. 207) at pp. 69-93,

and   in§        II.B.2,       above,     the     court    concludes    that     whether       the

defendants hogtied or effectively hogtied Lucas is not dispositive

of whether they violated a constitutional right that was clearly

established when the incident at issue occurred.                          The dispositive

issues are whether the force that the defendants used caused Lucas

injury, was clearly excessive, and whether the excessiveness was

clearly unreasonable.               Darden, 880 F.3d at 728.            See also Kingsley,

135 S. Ct. at 2473             ("a pretrial detainee must show only that the

force        purposely or          knowingly used against           him was      objectively

unreasonable").

        Factors        courts        consider      when      analyzing     the     objective

reasonableness          of     a    use   of    force     against   a   pretrial    detainee

include

        the relationship between the need for the use of force
        and the amount of force used; the extent of the
        plaintiff's injury; any effort made by the officer to
        temper or to limit the amount of force; the severity of
        the security problem at issue; the threat reasonably
        perceived by the officer; and whether the plaintiff was
        actively resisting.

Kingsley,        135    S.   Ct.     at   2473.      After analyzing each of these

factors,        the    court       held   that    genuine     issues    of material        fact

precluded it           from determining that              the officers'        use of   force




        52
             Defendants' Motion to Stay, Docket Entry No. 220, p. 3                        ~    4.

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against Lucas was objectively reasonable. 53 The officer defendants'

argue        that   they are    entitled to      qualified   immunity because   no

constitutional violation occurred, but this argument is premised on

their construction of facts that the court found to be in dispute,

~'       defendants' contention that Lucas continued to struggle and

resist in a manner that made the use and level of force exerted

against him reasonable. 54          Issues of material fact that precluded

the court from granting defendants' motions for summary judgment on

plaintiffs'         excessive    force   claims based on qualified immunity

include whether Lucas continued to resist once he was handcuffed,

shackled, and placed face down on the gurney, and whether and to

what extent each of the defendant officers applied pressure to

Lucas that impaired his ability to breathe.                   Issues of material

fact that precluded the court from granting defendants' motions for

summary        judgment   based    on    qualified    immunity   for   plaintiffs'

failure to intervene claims include whether defendants who contend

otherwise actually heard Lucas plea for help and complain that he


        53
             Memorandum Opinion and Order, Docket Entry No. 207, pp. 70-
87.
        54
       See, ~' Harris County's Reply, Docket Entry No. 227, p. 2
("officers only applied force to Lucas' back and leg in reaction to
Lucas' resistance- and then only as needed"); p. 5 ("Lucas has a
heart attack because his diseased heart gave out due to his
exertion    while resisting   reasonable   restraint   during   the
extraction, transport to the clinic, and then to Ben Taub
Hospital.") ; p. 9 ("The officers did the right thing under the
circumstances - try to get the combative Lucas to medical as soon
as possible using the least amount of force necessary under these
difficult circumstances.").

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could not breathe. 55          Defendants' contention that these fact issues

are not material is foreclosed by Fifth Circuit precedent.                         See

Chacon v.        Copeland,     577 F.   App'x 355,    363   (5th Cir.    2014)    (per

curiam)        (finding dispute over whether a detainee was "struggling or

resistingu to be material as a matter of law) .                  See also Darden,

880    F. 3d at        330   (acknowledging that     Darden allegedly told the

officers that he could not breathe, and holding that "the issue of

whether reasonable officers in this situation would have credited

the warnings from Darden                . is a factual question that must be

decided by a juryu) .



                 (b)    Defendants' Argument that Their Alleged Conduct Did
                        Not Violate Clearly Established Law Has No Merit

        The officer defendants argue that their appeal is meritorious

because the allegedly violative nature of their alleged use of

unreasonable force was not clearly established. 56                Citing Mullenix

v. Luna, 136 S. Ct. 305 (2015) (per curiam), and al-Kidd, 131 S. Ct.

at 2074, the officer defendants argue that "[t]he [c]ourt failed to

base its analysis in light of the specific context of the case, as

Supreme        Court    authority requires. us 7     Asserting    that   the     court

identified the use of force at issue as "effectively hogtying Lucas


        55
             Memorandum Opinion and Order, Docket Entry No. 207, pp. 87-
88.
        56
             Defendant Officers' Reply, Docket Entry No. 230, p. 7 ~ 13.
        57Id.

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and putting pressure on his legs, back and chest, which allegedly

caused his inability to breath, " 58 and that the court cited Simpson

v. Hines, 903 F.2d 400 (5th Cir. 1990), and Preston v. Hicks, 721

F. App' x 342, 345 (5th Cir. 2018) (per curiam), as authority for the

proposition that the allegedly violative nature of their use of

force was clearly established, 59 the officer defendants argue that

neither Preston nor Simpson support the court's conclusion.

        The     officer      defendants      argue    that   Preston   is   inapposite

because it involved a motion to dismiss and not motion for summary

judgment, and because the plaintiff was a pro se litigant who was

held to less stringent standards.                    The court did not cite Preston

for its merits but,               instead,   for its recognition that "[o]nce a

prisoner        has   been    subdued,       using    gratuitous   force    on    him    is

unreasonable."         721 F. App'x at 345             (citing Cowart v. Erwin,         837

F.3d 444, 454 (5th Cir. 2016).                 In Cowart a former prisoner filed

suit against Dallas County Jail detention officers asserting, inter

alia,        claims for excessive use of force and bystander liability

under § 1983.          The jury returned a verdict for the plaintiff and

the defendant detention officer appealed arguing, inter alia, that

the     court     erred      by    denying    him     qualified    immunity      for    the




      Id. at 5 ~ 10 & n. 6 (citing Memorandum Opinion and Order,
        58

Docket Entry No. 207, p. 81).

      Id. at 7 ~~ 13-14.
        59
                           See also Memorandum Opinion and Order,
Docket Entry No. 207, pp. 86-87.

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plaintiff's § 1983 claims.           837 F.3d at 448-52.      In pertinent part

the Fifth Circuit held:

     We have little difficulty concluding that in 2009, the
     time of the incident, it was well-established, in
     sufficiently similar situations, that officers may not
     "use gratuitous force against a prisoner who has already
     been subdued           [or] incapacitated.    Reasonable
     officers had fair notice that such conduct under the
     circumstances violated Cowart's right to be free from
     excessive force.

Id. at 454-55 (citations omitted).

     Moreover, there is a well-developed body of case law in the

Fifth Circuit specifically holding that the use of physical force

against a restrained, passively resisting or non-resisting subject

violates the constitution.            See,   ~'     Bush v.   Strain,       513 F.3d

492, 501 (5th Cir. 2008)          (objectively unreasonable to "forcefully

slam Bush's   face     into   a     vehicle while    she    was    restrained and

subdued"); Williams v. Bramer, 180 F.3d 699, 704                  (5th Cir. 1999),

(allegation of choking that was not in response to any resistance

or aggression by suspect in custody was "sufficient to assert a

constitutional violation."), clarified by, 186 F.3d 633, 634                    (5th

Cir. 1999).    The court's reference to Preston does not support a

meritorious   appeal    of    the    court's   conclusion     that    the    officer

defendants'    alleged       actions     violated    a     clearly    established

constitutional right of a pre-trial detainee to be free from the

use of excessive force.

     Asserting that the facts of Simpson are distinguishable from

those of this case,      the officer defendants argue that the Fifth

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Circuit's holding in Simpson does not place the reasonableness of

their allegedly violative actions beyond debate. 60                           The officer

defendants argue that the facts                  of Simpson are distinguishable

pecause there one of the defendants used a neck hold against the

detainee and another sat on his chest while it is undisputed that

none    of the           officer defendants      in this        case   used a   neck hold
                                                 61
against Lucas or sat on his chest.

        In Simpson ten police officers entered the jail cell of a

"volatile,         drug-affected" detainee who refused to surrender his

personal effects or be searched.                      903 F.2d at 401.        One officer

restrained the detainee's neck while others grabbed his arms and

legs and brought him down to the ground.                        Id. at 402.     An officer

nicknamed "Beef"             (due to his large size)             sat on the detainee's

chest as the other officers tried to handcuff him.                            Unable to do

so, they rolled the detainee on to his stomach and cuffed his hands

and legs.          Id.     During this incident the detainee "was begging for

help"        and   screaming.      Id.   at    402.       The    detainee     was   silent,

however, for several minutes before the officers left his cell.

Still cuffed, the detainee lay motionless on the floor of the cell

as the officers exited the cell.                The detainee was then left on the

floor over night,             even though one of the defendants checked him

twice and noticed that he had not moved.                        The medical examiner's


        60
             0fficer Defendants' Reply, Docket Entry No. 230, p. 9.
        61Id.


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report stated that the detainee died due to asphyxiation minutes

after the struggle, and a physician's report suggested that he may

have died as a result of pressure placed on his chest.                 Id. at 403.

The    Fifth Circuit denied the officers'              assertions of qualified

immunity holding that these officers "reasonably should have known

that in subduing and searching Simpson they maliciously used force

which was grossly disproportionate to the need and was calculated

to injure Simpson severely."          Id.

        Citing Simpson the Sixth Circuit has                 held it   is    "clearly

established that putting substantial or significant pressure on a

suspect's back while that suspect is in a face-down prone position

after being       subdued and/or     incapacitated constitutes              excessive

force."      Champion v.    Outlook Nashville,         Inc.,   38 0 F. 3d 8 93,   903

(6th Cir.       2004),   cert.   denied,    125 S.     Ct.   1837   (2005)    (citing

Simpson,     903 F.2d at 403).       See also Martin v. City of Broadview

Heights, 712 F.3d 951, 961 (6th Cir. 2013)               (referencing Simpson in

support of its holding that "[t] he prohibition against placing

weight     on   Martin's    body   after    he   was    handcuffed     was    clearly

established in the Sixth Circuit as of August 2007").                   Cases from

this and other circuits have also held that substantially similar

conduct violates clearly established law.               See Darden, 880 F.3d at

733    (holding that officer who in May of 2013 forced an obese man

onto his stomach,        pushed his face to the floor,              and pulled his

hands behind his back, while others were yelling that he could not


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breathe was not entitled to summary judgment based on qualified

immunity); Drummond v. City of Anaheim, 343 F.3d 1052, 1062                                  (9th

Cir.   2003)        (holding          that    summary    judgment       based    on   qualified

immunity was not available to officers who took into custody a

mentally disturbed individual not wanted for any crime because

"kneeling      on    the     back       and    neck     of   a   compliant      detainee,     and

pressing the weight of two officers' bodies on him even after he

complained that he was choking and in need of air violates clearly

established law" and "reasonable officers would have been aware

that such was the case") ; Weigel v.                         Broad,    54 4 F. 3d 114 3,     1155

(lOth Cir. 2008)           ("If, however, the facts plaintiffs proffered are

true   and     the        jury    draws       the     inferences       most     supportive     of

plaintiffs'      position,            then the law was clearly established that

applying     pressure            to    Mr.     Weigel's      upper     back,     once   he   was

handcuffed          and     his        legs     restrained,           was     constitutionally

unreasonable due to the significant risk of positional asphyxiation

associated with such actions.").

       The officer defendants contend that they had no reasonable

warning that the restraint technique used on Lucas violated his

constitutional rights because there was then no binding caselaw on

the appropriateness of using an "effective hogtie" or a                                  "basic

hogtie."       But lawfulness of force does not depend on the precise

instrument used to apply it.                    Qualified immunity will not protect

officers who apply excessive and unreasonable force merely because


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their means           of    applying   it   are   novel;   the   central   concern   is

whether the officer defendants had fair warning that their conduct

violated a constitutional right.                  See al-Kidd, 131 S. Ct. at 2083;

Morgan,       659 F.3d at 372-73.            The court concludes that Simpson,

Darden, and other similar cases provided defendants fair warning of

the violative              nature of their alleged conduct,          and that   their

argument to the contrary has no merit.



                (c)        Defendants' Legal Argument that the Court Erred in
                           Considering their Conduct as a Group for Purposes
                           of Qualified Immunity on Plaintiffs' Excessive
                           Force and Bystander Liability Claims Has No Merit

       Citing Meadours, 483 F.3d at 421, the officer defendants argue

that

       [i]n their [m]otion, the [p]laintiffs contend that
       qualified immunity was denied on factual rather than
       legal issues. They assume that no questions of law will
       be presented on appeal. The [p]laintiffs are mistaken.
       The first question to be addressed on appeal is whether
       the   [ c] ourt   erred  in considering   the   [ o] fficer
       [d]efendants' conduct as a group or a unit for qualified
       immunity purposes. That is clearly an issue of law over
       which    the    Court  of Appeals has   jurisdiction on
       interlocutory appeal. 62

The officer defendants cite Meadours for the observation that the

Fifth Circuit has "consistently examined the actions of defendants

individually in the qualified immunity context."                     Id.




       62
            0fficer Defendants' Reply, Docket Entry No. 230, p. 3 ~ 6.

                                             -38-
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     The court is well aware that personal civil liability for
                                                                       63
constitutional torts is based solely on individual conduct.                   But

as the Fifth Circuit observed in Meadours,         483 F.3d at 422 n. 3,

" [ s] epa rate consideration does not require courts to conduct a

separate analysis     for   each officer   in those    cases where          their

actions are materially indistinguishable, it merely requires them

to consider each officer's actions."       In this case it is undisputed

that all of the officer defendants were present when the allegedly

unconstitutional force was used against Lucas,           and that five of

them (Leveston, Green, Scott, Bell, and Thomas) acted as a unit.

If plaintiffs' allegations of excessive force are true, then each

of the officer defendants either participated in applying force to

Lucas,     or was present when the force was applied and failed to

intervene.      Under either theory,    "the law in this circuit holds

that any of the individual officers could be liable for a violation

of§ 1983 i f excessive force was in fact used."         Khan v. Lee, Civil

Action No.     07-7272,   2010 WL 11509283,    at *3   (E.D.    La.   Dec.     2,

2010), aff'd, 683 F.3d 192 (5th Cir. 2012)         (citing     Hale, 45 F.3d

at 919).     In Hale the Fifth Circuit expressly recognized that other

officers present when excessive force is used may also be liable

when they fail to intervene.       45 F.3d 919      ("[A]n officer who is

present at     the scene and does not take       reasonable measures           to

protect a suspect from another officer's use of excessive force may



     63
          Memorandum Opinion and Order, Docket Entry No. 207, p. 88.

                                   -39-
     Case 4:15-cv-02155 Document 234 Filed in TXSD on 12/18/18 Page 40 of 47



be    liable        under       section     198 3. ") .     For   the   reasons       stated    in

§    III.B.l (b),       above,       and in the September 28,             2018,       Memorandum

Opinion and Order at pages 87-88, the court has already concluded

that whether excessive force was used turns on disputed issues of

material fact to be determined at trial.

       Although the seven officer defendants jointly filed only two
                                                                                 64
motions        for    summary       judgment      and     one   joint   reply,        the   court

conducted separate qualified immunity analyses for the two officer

defendants           (Gordon and Kneitz)            who sought separate analysis on

their entitled to qualified immunity on plaintiffs'                                   claims   for

excessive use of force and bystander liability. 65                           Based on this

analysis the court granted Kneitz's motion for qualified immunity

on plaintiffs' excessive force claims upon finding no evidence that

he exerted any force against Lucas, but denied Kneitz's motion for

qualified immunity on plaintiffs' bystander liability claims, and

Gordon's summary judgment motion for qualified immunity on both

claims due to genuine issues of material fact to be determined at

trial. 66          The court       therefore       rejects as      frivolous      the officer

defendants' legal argument that their interlocutory appeal will be

meritorious because the court erred in considering them as a group

for qualified immunity as to the excessive force                             and bystander

liability claims.


       64
            I d.   at 8 9   &   n. 17 4 .
       65
            Id. at 8 9-93.
       66
            Id. at 88-90.

                                                 -40-
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     2.       Defendants' Appeal from Denial of Qualified Immunity on
              Plaintiffs' Denial of Medical Care Claims is Frivolous

     Asserting that "[c]ounsel is not aware of any Supreme Court or

Fifth Circuit precedent that would allow consideration of officer

conduct as a unit when the issue is deliberate indifference to a

serious medical need, " 67 defendants argue that Officers Scott, Bell,

and Green, are entitled to qualified immunity on plaintiffs' claims

for denial of medical care because the subjective component of

deliberate      indifference   cannot   be   established    without     proof
                                                                   68
regarding each individual officer's awareness of the need.              These

defendants also argue that their

     appeal of the denial of their qualified immunity on
     [p]laintiffs' deprivation of medical care claim is
     meritorious for three reasons.     First, as discussed in
     Section A,    supra., the Court failed to separately
     consider for each of the Officer Defendant' entitlement
     to qualified immunity on this claim. Second, the Court's
     holding that a genuine issue of material fact exists as
     to whether the Officer Defendants delayed Lucas's ability
     to  receive    medical  care   once   inside   the  clinic
     contradicts its holding that former Defendants Dr. Sunder
     and Nurse O'Pry actively treated Kenneth Lucas from the
     moment he entered the jail clinic.     Finally, it was not
     clearly established that the Officer Defendants could be
     held liable for any delay which allegedly occurred inside
     the Harris County Jail Medical Clinic. 69




     67
          Defendants' Motion for Stay, Docket Entry No. 220, p. 3.

     6sid.

     69
          0fficer Defendants' Reply, Docket Entry No. 230, p. 10 ~ 20.

                                   -41-
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                 (a)    Defendants' Legal Argument that the Court Erred in
                        Considering their Conduct as a Group for Purposes
                        of Qualified Immunity on Plaintiffs' Denial of
                        Medical Care Claims Has No Merit

        For the reasons stated in the September 28, 2018, Memorandum

Opinion and Order (Docket Entry No. 207) at pp. 93-103, the court

concluded that plaintiffs' allegations that the defendants hindered

the    ability         of medical    professionals     to     assess    and     attend   to

Lucas's        medical     needs    and   watched    Lucas     die     are     capable   of

supporting        §    1983 claims    for   denial    of medical        care,    and that

genuine issues of material fact precluded the court from granting

the     defendants'        summary    judgment      motions     based     on    qualified

immunity.         Contrary to defendants'           argument,    the court did not

consider the subjective component of deliberate indifference as to

the individual officers' as a unit but, instead, explained:

        Because at least two of the         [officer]  defendants
         (Leveston and Thomas) admit that they heard Lucas say he
        could not breathe but did nothing, and because the video
        shows Lucas saying that he can't breathe and the
        [officer] defendants doing nothing, plaintiffs have cited
        sufficient evidence to raise genuine issues of material
        fact for trial as to whether the other [defendant
        officers] also heard Lucas complain that he could not
        breathe. Since, moreover, the inability to breathe
        signifies a serious need that is so apparent even laymen
        would recognize that care is required,         the court
        concludes that plaintiffs have cited evidence from which
        a reasonable jury could conclude that the [officer]
        defendants were aware of facts from which an inference of
        the existence of an excessive risk to Lucas's health or
        safety could be drawn. 70

The court also explained:


        70
             Memorandum Opinion and Order, Docket Entry No. 207, pp. 100-
01.

                                            -42-
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        As evidence that the [officer] defendants actually drew
        an inference that an excessive risk of potential for harm
        existed, plaintiffs cite Gordon's and Scott's motion
        stating that if they had heard Lucas say he couldn't
        breathe or heard him gasp for air, they "each would have
        evaluated the validity of his claim and used their
        judgment and discretion to the extent of ordering the
        [other officer defendants] to release their hold and turn
        Inmate Lucas over immediately."      Plaintiffs cite the
        video which they argue, "clearly captured [Lucas's]
        lamentation, and an officer actually responded by telling
        him, "you relax, and you'll be able to breathe." .
        This evidence is sufficient to raise genuine issues of
        material fact as to whether the [officer] defendants
        actually drew an inference that Lucas's inability to
        breathe created an excessive risk of potential for harm
        yet intentionally said and did nothing, thereby delaying
        Lucas's ability to receive medical care needed to address
        the serious need caused by his inability to breathe. 71

        Contrary        to   defendants'       argument    the   court   held    that   the

plaintiffs        cited          evidence   capable   of    establishing        deliberate

indifference by Officers Scott, Bell, and Green because they were

present at the scene in close proximity to Lucas - not because the

court        analyzed       their    alleged    conduct    as    a   unit.      Undisputed

evidence shows that Scott was particularly close to Lucas perched

on the gurney holding Lucas' shackled legs, 72 while Green and Bell

were on the left side of the gurney controlling Lucas' left arm and

leg, respectively. 73              The court therefore rejects as frivolous the

officer defendants' argument that the court erred by considering

their actions as a group for qualified immunity as to the medical

care claims.


        71
             Id. at 101-102.
        72
             Id. at 7-8      &   n. 12.
        73
             Id. at 7   &    nn. 10-11.

                                               -43-
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                (b)     Issues of Material Fact Precluded the Court from
                        Granting the Officer Defendants Qualified Immunity

       For the reasons stated in the September 28, 2018, Memorandum

Opinion and Order at pages             98-103,       the court held that genuine

issues of material fact precluded granting the officer defendants

summary judgment on plaintiffs' claims for denial of medical care.

This conclusion was based on the court's determination that the

plaintiffs had cited evidence capable of establishing that the

defendants were aware of facts from which an inference of excessive

risk to       Lucas'     health or    safety could be            drawn,    and that       the

defendants actually drew an inference that such potential for harm

existed.       Defendants argue that this holding is contradicted by the

court's finding at page 110 of the Memorandum Opinion and Order

that    "[t] he       undisputed    facts    evidenced      by    the     video    and    the

deposition testimony of plaintiffs' experts show that Dr. Sunder

and Nurse O'Pry actively treated Lucas from the moment he entered

the jail clinic."          Defendants argue that "[b]ecause the [c]ourt has

found that        Dr.    Sunder and Nurse O'Pry actively treated Kenneth

Lucas 'from the moment he entered the jail clinic,' the [o]fficer

[d] efendants         cannot   be   held    liable    for   the     alleged       delay    in

providing medical care as a matter of law." 74

       Defendants' argument has no merit.                The fact that the doctor

and nurse in the clinic actively treated Lucas from the moment he



       74
            0fficer Defendants' Reply, Docket Entry No. 230, p. 11                   ~    21.

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entered        does    not    mean   that      the    defendants       did    not     act    with

deliberate indifference to Lucas' serious medical needs by failing

to tell the medical professionals that Lucas had complained of

being        unable    to    breathe,    failing       to    release     Lucas'       from    his

restraints upon arrival, and continuing to maintain control thereby

impeding the medical professionals' ability to treat Lucas until

Dr. Sunder realized that Lucas was not breathing and directed the

officer defendants to release him and turn him over.



                 (c)   Defendants' Argument that Their Alleged Conduct Did
                       Not Violate Clearly Established Law Has No Merit

        Asserting that the Memorandum Opinion and Order "fails to

consider the legal principle that once inside the Harris County

Jail Medical Clinic, the Officer Defendants, who are undisputedly

not medical professionals, are entitled to rely on the opinions of

medical        professionals, " 75      defendants          argue    that    "[i] t    was    not

clearly         established      that    the     [o]fficer          [d]efendants      had     any

constitutional obligation to provide medical care to Kenneth Lucas

once inside the Harris County Jail Medical Clinic, a point which

the Court did not address in the [o]pinion." 76                        In support of this

argument defendants cite, inter alia, Lee v. Young, 533 F.3d 505,

511    (7th Cir.       2008),    for its statement that "in determining the



        75
             Id. at 13 en 2 9.
        76
             Id. at 15 en 30.

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best way to handle an inmate's medical needs, prison officials who

are not medical professionals are entitled to rely on the opinions

of medical professionals," 77 and Krout v. Goemmer, 583 F.3d 557, 569

(8th     Cir.      2 00 9) ,   for   its    statement    " [ t] hat    a   trained medical

technician did not appreciate the risks attendant to Rylee's                              [a

pretrial          detainee]      condition     undermines     an      inference   that   the

untrained officers obviously knew that Rylee was at serious risk to

stop breathing or that his neck was broken." 78                       These and the other

cases        on    which       defendants     rely   are    inapposite        because    the

allegations and evidence in this case are not that the defendants

relied on the treatment decisions of medical professionals but,

instead,          that they delayed,         hindered,     and impaired the medical

professionals' ability to treat Lucas by failing to tell them that

Lucas had complained of being unable to breathe, failing to release

Lucas' from his restraints upon arrival to the clinic so that the

medical professionals could access and assess him, and continued to

restrain and assert pressure on Lucas until Dr.                            Sunder realized

that Lucas was not breathing and ordered the defendants to release

Lucas and turn him over.                   The court concludes therefore that the

defendants'         argument that their alleged conduct did not violate

Lucas' clearly established right to medical care has no merit.


        77
             Id. at 13-14 en 29.
        78
             Id. at 14 en 30.

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                           IV. Conclusions and Order

        For the   reasons     stated on page       3,   above,    Harris     County's

Motion for Reconsideration, Docket Entry No. 210, is MOOT.

        For the reasons stated in§ II, above, Harris County's Amended

Motion for Reconsideration, Docket Entry No. 211, is DENIED.

        For the reasons stated in §§ II and III,                 above,    the court

concludes that issues of material fact exist as to whether the

officer defendants are entitled to qualified immunity,                      and that

there are no meritorious issues of law to be reviewed by the court

of     appeals.     The    court   therefore      CERTIFIES      that     defendants'

interlocutory appeal is frivolous.

        Accordingly,      Defendants'   Motion for Stay,         Docket Entry No.

220,    is DENIED,     and   Plaintiffs'       Motion   to   Certify      Defendants'

Appeal as Frivolous, Docket Entry No. 226, is GRANTED.

        SIGNED at Houston, Texas, on this 18th day                              2018.




                                                           SIM LAKE
                                                UNITED STATES DISTRICT JUDGE




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